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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF ARKANSAS


   UNITED STATES OF AMERICA             )
                                        ) Case:               4:23-CR-228
                           Plaintiff(s) )
                  v.                    )
                                        ) Judge:              Lee P. Rudofsky
             Amos Fricker               )
         _________________________ )
                          Defendant(s) )


                                  NOTICE OF APPEARANCE

       Please take notice that Christopher Baker of the James Law Firm will be aiding as counsel in

the representation of Amos Fricker in the case captioned above and requests that they be included

on the service of all notices, pleadings, and other documents filed in this case. Christopher Baker is

admitted or otherwise authorized to practice in this court.

 Dated: September 19, 2023                           Respectfully submitted,

                                                     /s/ Christopher Baker

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